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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

 Taryn N. Duis,

       Plaintiff,

 v.                                                      Cause No. 2:20-cv-00078-APR

 franciscan alliance inc. a/k/a franciscan
 health crown point,

       Defendants.

                        A P PEARA NCE OF CO U NSEL

      To:     The clerk of court and all parties of record

      I am admitted to practice in this court, and I appear in this case as counsel for:

Taryn Duis.

                                                     Respectfully submitted,

                                                     /s/ Natalie R. Dickey
                                                     Natalie R. Dickey
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